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 Michelle Hartmann                                Debra A. Dandeneau (Admitted pro hac vice)
 State Bar No. 24032402                           Blaire Cahn (Admitted pro hac vice)
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 michelle.hartmann@bakermckenzie.com              debra.dandeneau@bakermckenzie.com
                                                  blaire.cahn@bakermckenzie.com
 Counsel for Scott Ellington and Isaac Leventon

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
   In re:
                                                           Chapter 11
   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                 Reorganized Debtor.                       Case No. 19-34054-sgj11
   MARC S. KIRSCHNER, AS LITIGATION TRUSTEE
   OF THE LITIGATION SUB-TRUST,
                 Plaintiff,
            v.
   JAMES D. DONDERO; MARK A. OKADA; SCOTT
   ELLINGTON; ISAAC LEVENTON; GRANT JAMES
   SCOTT III; FRANK WATERHOUSE; STRAND
   ADVISORS, INC.; NEXPOINT ADVISORS, L.P.;
   HIGHLAND CAPITAL MANAGEMENT FUND
   ADVISORS, L.P.; DUGABOY INVESTMENT TRUST
   AND NANCY DONDERO, AS TRUSTEE OF
   DUGABOY INVESTMENT TRUST; GET GOOD
   TRUST AND GRANT JAMES SCOTT III, AS
   TRUSTEE OF GET GOOD TRUST; HUNTER
   MOUNTAIN INVESTMENT TRUST; MARK & Adv. Pro. No. 21-03076-sgj
   PAMELA OKADA FAMILY TRUST – EXEMPT
   TRUST #1 AND LAWRENCE TONOMURA AS
   TRUSTEE OF MARK & PAMELA OKADA FAMILY
   TRUST – EXEMPT TRUST #1; MARK & PAMELA
   OKADA FAMILY TRUST – EXEMPT TRUST #2
   AND LAWRENCE TONOMURA IN HIS CAPACITY
   AS TRUSTEE OF MARK & PAMELA OKADA
   FAMILY TRUST – EXEMPT TRUST #2; CLO
   HOLDCO, LTD.; CHARITABLE DAF HOLDCO,
   LTD.; CHARITABLE DAF FUND, LP.; HIGHLAND
   DALLAS FOUNDATION; RAND PE FUND I, LP,
   SERIES 1; MASSAND CAPITAL, LLC; MASSAND
   CAPITAL, INC.; SAS ASSET RECOVERY, LTD.;
   AND CPCM, LLC,
                 Defendants.
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                   NOTICE OF ISSUANCE OF SUBPOENA TO
           PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
          PERMIT INSPECTION OF PREMISES TO MUCK HOLDINGS, LLC


       PLEASE TAKE NOTICE that Defendants, Scott Ellington and Isaac Leventon, by and

through their attorneys of record, intend to serve the Subpoena attached hereto as Exhibit “A,”

pursuant to Rule 45 of the Federal Rules of Civil Procedure, as made applicable by Rule 9016 of

the Federal Rules of Bankruptcy Procedure, on third-party, Muck Holdings, LLC.




 Dated: January 06, 2023

 By: /s/ Michelle Hartmann                        Debra A. Dandeneau
 Michelle Hartmann                                Blaire Cahn
 State Bar No. 24032402                           BAKER & MCKENZIE LLP
 BAKER & MCKENZIE LLP                             452 Fifth Ave
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 Email: michelle.hartmann@bakermckenzie.com       (Admitted pro hac vice)

                                                  Counsel for Scott Ellington and Isaac Leventon




                                              2
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                               CERTIFICATE OF SERVICE

       I certify that on January 06, 2023, a true and correct copy of the above and foregoing

document was served via electronic email through the Court’s CM/ECF system to the parties that

have requested or consented to such service.

                                                   /s/ Michelle Hartmann
                                                   Michelle Hartman




                                               3
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                                  EXHIBIT “A”




                                                                                      1
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit
                                                            Document               PageInspection
                                                                                             5 ofin 12
                                                                                                    a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
  _________________________________________
                                   Northern District of _________________________________________
                                                         Texas
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
In re __________________________________________
                                    Debtor
                                                                                             19-34054-sgj
                                                                                    Case No. _____________________
          (Complete if issued in an adversary proceeding)
Mark S. Kirschner, as Litigation Trustee of the Litigation                                  11
                                                                                    Chapter ___________
Sub-Trust,
_________________________________________
                                   Plaintiff
                          v.                                                                       21-03076-sgj
                                                                                    Adv. Proc. No. ________________
James D. Dondero, et al.,
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To: ________________________________________________________________________________________
       Muck Holdings, LLC
                                   (Name of person to whom the subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See Attachment A.

  PLACE *Baker & McKenzie LLP                                                                               DATE AND TIME
             452 Fifth Avenue                                                                                                       February 6, 2023 at 9:00 a.m.
             New York, NY 10018
      * In lieu of delivery of hard-copy documents, you may electronically deliver the documents to counsel listed in Exhibit 1.
      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                     DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

        January 6, 2023
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR /s/ Michelle Hartmann
                                    ________________________                           ________________________
                                    Signature of Clerk or Deputy Clerk                      Attorney’s signature
                                                                                            Michelle Hartmann
 The name, address, email address, and telephone number of the attorney representing (name of party)
 See Exhibit 1 attached hereto
 ____________________________          , who issues or requests this subpoena, are:
 See Exhibit 1 attached hereto
                                  Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
 inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
 the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit
                                                         Document                Page  Inspection
                                                                                           6 of in12a Bankruptcy Case or Adversary Proceeding) (Page 2)

                                                               PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                               Server’s signature

                                                                                  ________________________________________________
                                                                                                            Printed name and title


                                                                                  ________________________________________________
                                                                                                                Server’s address


Additional information concerning attempted service, etc.:
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                                                         Document                Page  Inspection
                                                                                           7 of in12a Bankruptcy Case or Adversary Proceeding) (Page 3)
                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it .


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                         Attachment A


                                         DEFINITIONS

The following definitions shall apply herein:

   1. The terms “all,” “any,” and “each” shall each be construed as encompassing any and all.
      The connectives “and” and “or” shall be construed either disjunctively or conjunctively as
      necessary to bring within the scope of the discovery request all responses that might
      otherwise be construed to be outside of its scope. The use of the singular form of any word
      includes the plural and vice versa.
   2. The term “document” is defined to be synonymous in meaning and equal scope to the
      usage of the term “documents or electronically stored information” in Fed. R. Civ. P.
      34(a)(1)(A). A draft or non-identical copy is a separate document within the meaning of
      this term. “Document” shall be construed as a document and all attachments thereto.

   3. The terms “including” and “includes” are used to provide examples of certain types of
      information and should not be construed as limiting a request in any way. The term
      “including” shall be construed as if followed by the phrase “but not limited to,” irrespective
      of whether such phrase is explicitly stated or not.

   4. “Highland Bankruptcy” means In re Highland Capital Mgmt., L.P., Case No. 19-35054-
      sgj11 (Bankr. N.D. Tex. Feb. 13, 2020); In re Highland Capital Mgmt., L.P., Case No. 19-
      12239 (CSS) (Bankr. D. Del. Dec. 4, 2019).

   5. “Highland Party” means Highland Capital Management, L.P., any of its partners, general
      partners, subsidiaries, affiliates, managed or advised funds or accounts, employees, or
      professionals, including, but not limited to, Pachulski Stang Ziehl & Jones LLP,
      Development Specialists Inc., James Seery, Russell Nelms, and John Dubel.

   6. “Proofs of Claim” means Proof of Claim Nos. 23, 143, 147, 149, 150, 153, 154, 190, or
      191 filed in the Highland Bankruptcy.

   7. “Redeemer Committee” means the Redeemer Committee of the Highland Crusader Fund.

   8. “UCC Party” means the Official Committee of Unsecured Creditors in the Highland
      Bankruptcy including each of its agents, members, and their respective agents. This
      specifically includes, but is not limited to, Sidley Austin LLP, FTI Consulting, Inc., any
      representative of Acis Capital Management, L.P., including Winstead, P.C. (including
      attorney Rakhee Patel), Forshey Prostok LLP (including attorney Jeff Prostok), Rogge
      Dunn Group, PC (including attorney Brian Shaw), Carrington, Coleman, Sloman &
      Blumenthal, L.L.P. (including attorney Brian Shaw), the Redeemer Committee, Jenner &
      Block LLP (including attorney Terri Mascherin), GCM Grosvenor, Grosvenor Capital
      Management LP, Eric Felton, Burke Montgomery, Stuart Robertson, UBS AG London
      Branch and UBS Securities LLC, including its counsel Latham & Watkins LLP (including


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      attorney Andrew Clubok), Meta-e Discovery, LLC, Paul McVoy, and Morrison Cohen
      LLP.

   9. “You” means Muck Holdings, LLC, its affiliates, and each of their respective parents,
      subsidiaries, officers, directors, managers, members, partners, shareholders, employees,
      contractors, and agents.



                                 REQUESTED DOCUMENTS

   1. All documents and communications exchanged between You and any UCC Party.

   2. All documents and communications exchanged between You and any Highland Party.

   3. All diligence materials made available to, reviewed by, or considered by You prior to Your
      purchase of the Proofs of Claim.

   4. All documents and communications relating to any negotiation or settlement of the Proofs
      of Claim.

   5. All documents and communications relating to Your purchase of the Proofs of Claim,
      including but not limited to all documents and communications related to the negotiations
      of such purchases and all consideration exchanged in relation to such purchases.

   6. All documents and communications related to the Highland Bankruptcy in Your
      possession, custody, or control prior to Your purchase of the Proofs of Claim.

   7. Documents sufficient to identify Your ultimate beneficial owners.

   8. Documents sufficient to identify what person(s) has decision-making authority for Muck
      Holdings, LLC, and the legal basis for such authority.

   9. Any corporate, company, entity, or other organization charts in which Muck Holdings,
      LLC is included as any entity on the chart.

   10. Documents sufficient to identify each individual person who (a) decided on Your behalf to
       purchase the Proofs of Claim, (b) conducted any financial, legal, or risk analysis related to
       Your purchase of the Proofs of Claim, (c) advised You regarding Your purchase of the
       Proofs of Claim, or (d) participated in any transaction effectuating Your purchase of the
       Proofs of Claim. For each individual identified, documents sufficient to show such
       individual’s employer at the time such individual engaged in action or activity related to
       the purchase of the Proofs of Claim.

   11. Documents sufficient to identify any other individuals, not otherwise identified in response
       to one of the other Requests herein, who may have knowledge of relevant facts related to
       Your purchase of the Proofs of Claim.



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                                           Exhibit 1

        The name, address, email address, and telephone number of the attorneys representing the
parties who issue or request this subpoena are:


                                        By: _/s/ Michelle Hartmann________________
                                            Michelle Hartmann
                                            State Bar No. 24032402
                                            BAKER & MCKENZIE LLP
                                            1900 North Pearl, Suite 1500
                                            Dallas, TX 75201
                                            Telephone: 214-978-3000
                                            michelle.hartmann@bakermckenzie.com
                                             and
                                             Debra A. Dandeneau (Admitted pro hac vice)
                                             Blaire Cahn (Admitted pro hac vice)
                                             BAKER & MCKENZIE LLP
                                             452 Fifth Ave
                                             New York, NY 10018
                                             Telephone: 212-626-4875
                                             debra.dandeneau@bakermckenzie.com
                                             blaire.cahn@bakermckenzie.com
                                             Counsel to Scott Ellington and Isaac Leventon


                                         By: _/s/ Amy L. Ruhland_________________
                                            Amy L. Ruhland
                                            State Bar No. 24043561
                                            DLA Piper LLP
                                            303 Colorado Street, Suite 3000
                                            Austin, TX 78701
                                            Telephone: 512-457-7000
                                            amy.ruhland@us.dlapiper.com

                                             and

                                             Jason M. Hopkins
                                             State Bar No. 24059969
                                             1900 N. Pearl Street, Suite 2200
                                             Dallas, TX 75201
                                             Telephone: 214-743-4500
                                             jason.hopkins@us.dlapiper.com



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                                        Counsel to James D. Dondero, Strand Advisors,
                                        Inc., The Dugaboy Investment Trust, The Get Good
                                        Trust, Hunter Mountain Investment Trust, and
                                        Rand PE Fund I, LP, Series I


                                     By: _/s/ Louis M. Phillips________________
                                        Louis M. Phillips (#10505)
                                        KELLY HART PITRE
                                        One American Place
                                        301 Main Street, Suite 1600
                                        Baton Rouge, LA 70801
                                        Telephone: 225-381-9643
                                        louisphillips@kellyhart.com

                                        and

                                        Amelia L. Hurt
                                        (LA #36817, TX #24092553)
                                        400 Poydras Street, Suite 1812
                                        New Orleans, LA 70130
                                        Telephone: (504) 522-1812
                                        amelia.hurt@kellyhart.com

                                        and

                                        Hugh G. Connor II
                                        State Bar No. 00787272
                                        Michael D. Anderson
                                        State Bar No. 24031699
                                        Katherine T. Hopkins
                                        State Bar No. 24070737
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                                        michael.anderson@kellyhart.com
                                        katherine.hopkins@kellyhart.com
                                        Counsel to CLO Holdco, Ltd., Highland Dallas
                                        Foundation, Charitable DAF Fund, LP, and
                                        Charitable DAF Holdco, Ltd




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                                     By: __/s/ Brian D. Glueckstein_______________
                                        Brian D. Glueckstein
                                        Sullivan & Cromwell LLP
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                                        New York, NY 10004
                                        Telephone: 212-558-4000
                                        gluecksteinb@sullcrom.com

                                        and

                                        Cortney C. Thomas
                                        State Bar No. 24075153
                                        BROWN FOX PLLC
                                        8111 Preston Road, Suite 300
                                        Dallas, TX 75225
                                        Telephone: (214) 327-5000
                                        cort@brownfoxlaw.com

                                        Counsel to Mark Okada, The Mark and Pamela
                                        Okada Family Trust – Exempt Trust #1, and The
                                        Mark and Pamela Okada Family Trust – Exempt
                                        Trust #2




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